                                                                                                                       Entered on Docket
                                                                                                                       April 02, 2015
                                                                                                                       EDWARD J. EMMONS, CLERK
                                                                                                                       U.S. BANKRUPTCY COURT
                                                                                                                       NORTHERN DISTRICT OF CALIFORNIA




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                                                                                                                     The following constitutes
                                                                    2                                                the order of the court. Signed April 2, 2015

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                                                                    4                                                  _________________________________________________
                                                                                                                       M. Elaine Hammond
                                                                    5                                                  U.S. Bankruptcy Judge


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                                                                    8                                UNITED STATES BANKRUPTCY COURT
                                                                    9                                 NORTHERN DISTRICT OF CALIFORNIA
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UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF CALIFORNIA




                                                                   11   In re                                                 Case No. 14-53564 MEH
                                                                   12   BRANDON MICHAEL CAVANAUGH and                         Chapter 13
                                                                        KEISHA RENEE CAVANAUGH,
                                                                   13
                                                                                               Debtors. /                     Date: 06/19/15
                                                                   14                                                         Time: 10:00 a.m.
                                                                                                                              Ctrm: 1000 S. Main, Room 214
                                                                   15                                                               Salinas, CA
                                                                   16
                                                                   17                                ORDER TO SHOW CAUSE RE DISMISSAL
                                                                   18           This case was filed on August 26, 2014. As of the date of this order, no order confirming a
                                                                   19   chapter 13 plan has been entered. Debtors (or Debtors’ counsel, if represented) are hereby ordered to
                                                                   20   show cause, if any, at the above-mentioned date, time and courtroom, why this case should not be
                                                                   21   dismissed for unreasonable delay that is prejudicial to creditors. See 11 U.S.C. § 1307(c).
                                                                   22           Debtors (or Debtors’ counsel, if represented) shall file a written response to this Order to
                                                                   23   Show Cause by June 5, 2015. If Debtors fail to file a written response by that date, the court will
                                                                   24   dismiss the case before the hearing.
                                                                   25           If all objections to confirmation are resolved, the plan may be confirmed at the hearing.
                                                                   26                                            **END OF ORDER**




                                                                    Case: 14-53564        Doc# 22      Filed: 04/02/15     Entered: 04/02/15 11:39:02        Page 1 of 2
                                                                    1                                        COURT SERVICE LIST
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                                                                    3   ECF Participants
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UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF CALIFORNIA




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